         Case 1:17-cv-02069-TSC Document 78 Filed 04/16/18 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                       )
JOHN DOE,                              )
                                       )
               Petitioner,             )
                                       )
      v.                               )               Civil Action No. 1:17-cv-2069 (TSC)
                                       )
GEN. JAMES N. MATTIS,                  )
 in his official capacity as SECRETARY )
 OF DEFENSE,                           )
                                       )
               Respondent.             )



                          RESPONDENT’S NOTICE OF SERVICE

       Pursuant to the Court’s Minute Order of April 16, 2018, Respondent provides notice as

follows: As indicated in the Certificate of Service attached to Respondent’s sealed filing (ECF

No. 77), undersigned counsel for Respondent served a copy of the sealed filing on counsel for

Petitioner by e-mail at 8:06 p.m. on April 16, 2018.

April 16, 2018                                         Respectfully submitted,

                                                       CHAD A. READLER
                                                       Acting Assistant Attorney General
                                                       JESSIE K. LIU
                                                       United States Attorney
                                                       TERRY M. HENRY
                                                       Assistant Director, Federal Programs Branch

                                                       /s/ Kathryn L. Wyer
                                                       JAMES M. BURNHAM
                                                       Senior Counsel
                                                       KATHRYN L. WYER
                                                       Senior Trial Counsel, Federal Programs
                                                       OLIVIA HUSSEY SCOTT
                                                       Trial Attorney, Federal Programs
                                                       U.S. Department of Justice, Civil Division
                                                       20 Massachusetts Avenue, N.W.
Case 1:17-cv-02069-TSC Document 78 Filed 04/16/18 Page 2 of 2



                                  Washington, DC 20530
                                  Tel. (202) 616-8475 / Fax (202) 616-8470
                                  kathryn.wyer@usdoj.gov
                                  Attorneys for Respondent




                              2
